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Rev. /201



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

In Re: SUBPOENA OF JAMES COMEY BY AUTHORITY
OF THE HOUSE OF REPRESENTATIVES OF THE
CONGRESS OF THE UNITED STATES OF AMERICA

                     Plaintiff
                                                     Miscellaneous No.         18-174         (TNM)
               vs.
                                                    Category O



                         Defendant




                                     REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on   11/29/2018    from Judge Timothy J. Kelly

to Judge Trevor N. McFadden                         by direction of the Calendar Committee.



                                   (Randomly Reassigned)


                                                               JUDGE ELLEN S. HUVELLE
                                                               Chair, Calendar and Case
                                                               Management Committee


cc:           Judge Timothy J. Kelly                            & Courtroom Deputy
              Judge Trevor N. McFadden                     & Courtroom Deputy
            Liaison, Calendar and Case Management Committee
